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 8

 9                             UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA

11
     NICK PATTERSON, Individually and on Behalf       Case No. 22-cv-03600-TLT
12   of All Others Similarly Situated,
13
                                 Plaintiff,
14                                                    LEAD PLAINTIFF’S OPPOSITION
            v.                                        TO JUMP TRADING LLC’S
15                                                    MOTION TO COMPEL
                                                      ARBITRATION
     TERRAFORM LABS, PTE. LTD., JUMP
16   CRYPTO, JUMP TRADING LLC, TRIBE                  Dated: September 19, 2023
17   CAPITAL, DEFINANCE CAPITAL/                      Time: 2:00 p.m.
     DEFINANCE TECHNOLOGIES OY, THREE
18   ARROWS CAPITAL PTE. LTD., NICHOLAS
     PLATIAS, and DO KWON,
19
                                 Defendants.
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                        LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
                                 MOTION TO COMPEL ARBITRATION
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 1   I.        THE COURT SHOULD DENY JUMP’S MOTION TO COMPEL ARBITRATION

 2        A.      INTRODUCTION
 3             Seeking to avail itself of the Anchor Protocol Terms of Service (“Terms”) and its
 4
     arbitration clause, Jump insists that the Court either compel Plaintiffs to arbitrate against it or,
 5
     alternatively, to stay the case against it until such time as Plaintiffs arbitrate their case with
 6
     Defendants Terraform Labs, Pte. Ltd. (“TFL”) and its Chief Executive Officer, Do Kwon
 7

 8   (together, “TFL Defendants”) in Singapore. The Court should deny Jump’s Motion to Compel

 9   (Dkt. No. 114) or (“MTC”), in its entirety.

10             The Court should deny Jump’s attempt to enforce the Terms’ arbitration provision for two
11
     reasons. First, for the reasons Plaintiffs argue in their opposition to the TFL Defendants’ motion
12
     to compel arbitration, Plaintiffs’ claims all relate to their purchase of UST and other Terra Tokens,
13
     and not any subsequent decision to lend UST to the Anchor Protocol. Plaintiffs’ purchase of Terra
14
     Tokens is a separate and distinct transaction from the transaction depositing UST into the Anchor
15

16   Protocol, and the Terms do not reach the initial purchase. The Amani Declaration attaches, in full,

17   the Terms, containing the arbitration clause at issue. Dkt. No. 122-1. As discussed at length in
18   Plaintiffs’ opposition to the TFL Defendants on this point, the Terms govern only the transaction
19
     in which owners of UST deposit UST into Anchor, the Terms expressly disclaim responsibility for
20
     the value of the underlying UST staked in Anchor, and the Terms do not even purport to reach the
21
     initial purchase of UST or any other Terra Token. Dkt. No. 122-1. As such, the arbitration clause
22

23   in question is inapplicable to Plaintiffs’ claims against any of the Defendants. The TFL Defendants

24   acknowledge as much, conceding that “the SAC does not contain a single allegation that (a) Lead

25   Plaintiff or anyone else lost money as a result of Anchor[.]” TFL MTD at 58 (emphasis in original).
26   In fact, all of Plaintiffs’ claims would be exactly the same – that the Terra Tokens they purchased
27

28                                                    1
                           LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
                                    MOTION TO COMPEL ARBITRATION
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 1   were unregistered securities, and that their purchases were induced by a raft of false and misleading
 1
 2   statements and deceptive acts – whether Plaintiffs decided to loan their Terra Tokens to the Anchor
 2
 3
 3   Protocol or not.1 Accordingly, because Plaintiffs’ claims do not “arise out of or relat[e] to” the
 4
 4   Anchor Interface or the Terms, the arbitration clause does not apply to their claims against Jump.
 5
 5
            Second, generally, a non-signatory may not enforce an arbitration agreement to which it is
 6
 6
 7   not a party. Because Defendant Jump is a non-signatory to the Terms, therefore, it may not avail
 7
 8   itself of the arbitration clause unless it demonstrates that this case falls within one of two “narrow”
 8
 9   exceptions. This has been black letter law ever since the Ninth Circuit Court of Appeals adopted
 9
10
10   the two so-called Goldman circumstances. See Kramer v. Toyota Motor Corp., 705 F.3d 1122,
11
11   1128–29 (9th Cir. 2013). The two Goldman circumstances are: (1) when a signatory must rely on
12
12   the terms of the written agreement in asserting its claims against the nonsignatory or the claims
13
13
     are intimately founded in and intertwined with the underlying contract, and (2) when the signatory
14
14
15   alleges substantially interdependent and concerted misconduct by the nonsignatory and another
15
16   signatory and the allegations of interdependent misconduct are founded in or intimately connected
16
17   with the obligations of the underlying agreement. Id. Plaintiffs’ claims, however, do not rely on
17
18
18   the Terms at all, as they relate to their initial purchase of Terra Tokens, which is a separate
19
19
20
20   1 The TFL Defendants made this point repeatedly at oral argument on their motion to dismiss the
21   SEC action. See SEC v. Do Kwon and Terraform Labs Pte. Ltd., 23-cv-01346 (S.D.N.Y.). The
21   June 15, 2023, motion to dismiss oral argument transcript in that case is attached as Exhibit 1 to
22   the Declaration of Laurence M. Rosen in Support of Lead Plaintiff’s Opposition to the TFL
22   Defendants’ Motion to Dismiss and Motion to Compel Arbitration (“Rosen Decl.”). There, the
23   TFL Defendants assured the court that the decision to deposit UST into Anchor was a “separate
23   decision,” see Rosen Decl., Ex. 1 at 22:01, and that the Anchor Protocol, which only became
24   available “seven months” after UST became available, “just presents one option amongst many
24   for anybody who had actually purchased UST or was considering purchasing UST, but there are
25   no package deals[.]” Id. 22:13-19. In addition, the TFL Defendants contended that conflating one’s
25   decision to deposit UST into the Anchor Protocol and one’s initial decision to purchase the UST
26   would require “essentially time travel.” Id. 25:01. The reason is that the decision to purchase UST
26   is a separate transaction from the one depositing it into Anchor. Accordingly, the Anchor Protocol
27   Terms, and the arbitration clause it contains, does not apply.
27
28                                                     2
28
                          LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
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 1   transaction not governed by the Terms. Jump hardly argues otherwise, but urges the Court to
 1
 2   compel arbitration nevertheless. Jump is wrong.
 2
 3
 3           Finally, in the event the Court compels Plaintiffs to arbitrate their claims against the TFL
 4
 4   Defendants but rejects Jump’s attempt to leverage the Terms’ arbitration clause, Jump seeks a
 5
 5
     discretionary stay of this action against it, pending the outcome of arbitration with the TFL
 6
 6
 7   Defendants. Because Jump has failed to meet its burden of showing both that the equities and
 7
 8   judicial efficiency support a stay, this Court should deny its request for a stay.
 8
 9      B.      ARGUMENT
 9
10           “[A]rbitration is a matter of contract and a party cannot be required to submit to arbitration
10
11   any dispute which he has not agreed so to submit.” AT & T Techs., Inc. v. Commc'ns Workers of
11
12   Am., 475 U.S. 643, 648 (1986). Generally, courts preclude nonsignatories to arbitration agreements
12
13   from compelling arbitration of their disputes except in “narrowly confined” circumstances. See
13
14   Murphy v. DirecTV, Inc., 724 F.3d 1218, 1229 (9th Cir. 2013) (citation omitted). Under California
14
15   law, a non-signatory, invoking the doctrine of equitable estoppel, may seek arbitration only in two
15
16   “limited circumstances.” In re Henson, 869 F.3d 1052, 1060 (9th Cir. 2017). In Kramer v. Toyota
16
17   Motor Corp., 705 F.3d 1122 (9th Cir. 2013) (affirming the denial of a third party’s attempt to
17
18   compel arbitration), the Ninth Circuit adopted the two “Goldman circumstances” for a non-
18
19   signatory’s invoking equitable estoppel to compel arbitration. They are:
19
20           (1) when a signatory must rely on the terms of the written agreement in asserting
20
21           its claims against the nonsignatory or the claims are intimately founded in and
21           intertwined with the underlying contract, and (2) when the signatory alleges
22           substantially interdependent and concerted misconduct by the nonsignatory and
22           another signatory and the allegations of interdependent misconduct are founded in
23           or intimately connected with the obligations of the underlying agreement.
23
24   Id. at 1128–29 (citing Goldman v. KPMG, LLP, 173 Cal. App. 4th 209, 219, 221 (2009)) (emphasis
24
25
25   added). Importantly, references to the “agreement” and “contract” refer to the Terms, which is the
26
26   contract containing the arbitration clause. Courts apply equitable estoppel to prevent a plaintiff
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27
28                                                     3
28
                          LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
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 1   from asserting liability against the non-signatory under the agreement’s terms while
 1
 2   simultaneously seeking to avoid arbitration that the agreement mandates. In re Henson, 869 F.3d
 2
 3
 3   at 1060 (quoting Murphy, 724 F.3d at 1229.
 4
 4          Citing Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 530 (2019) and
 5
 5
     calling the Kramer line of authority “of doubtful validity,” Jump attempts to challenge the
 6
 6
 7   applicability of the Goldman factors. See Jump MTC at 10, n. 8. Three years after Henry Schein,
 7
 8   however, the Ninth Circuit re-affirmed the applicability of the Goldman factors. See, e.g., Ngo v.
 8
 9   BMW of N. Am., LLC, 23 F.4th 942, 948 (9th Cir. 2022). Henry Schein does not alter this Court’s
 9
10
10   application of the Goldman circumstances, as the Ninth Circuit requires. Moreover, the Court
11
11   should reject Jump’s attempt to delegate the question whether the Goldman circumstances apply
12
12   to an arbitrator, because whether one of the Goldman circumstances is present is a decision that
13
13
     courts – not arbitrators – make all the time. See, e.g., BMW of N. Am., LLC, 23 F.4th at 949;
14
14
15   Donovan v. Coinbase Glob., Inc., 2023 WL 2124776, at *6 (N.D. Cal. Jan. 6, 2023) (citing Kramer,
15
16   705 F.3d 1122 and Murphy, 724 F.3d at 1229–1230 (“We must analyze whether [non-signatory]
16
17   Best Buy satisfies either of the two Kramer/Goldman exceptions to the general rule precluding
17
18
18   nonsignatories from requiring arbitration of their disputes”)). Nowhere in Jump’s avalanche of
19
19   caselaw is a case even suggesting that the Goldman analysis is for an arbitrator.2
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20
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24
24   2 This makes sense because, as explained in Plaintiffs’ response to the TFL Defendants’ motion to
25   compel arbitration, the question is whether Plaintiffs’ claims are covered by the Terms’ arbitration
25   agreement, which is a question for the court – not an arbitrator – to decide. See, e.g., Jackson v.
26   Amazon.com, Inc., 65 F.4th 1093, 1101 (9th Cir. 2023) (affirming district court’s denial of motion
26   to compel arbitration, because the claim did not relate to the terms of the contract containing the
27   arbitration clause and was therefore outside the scope of the clause).
27
28                                                    4
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                          LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
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 1          1.        Because Neither Goldman Circumstance Applies Here, the Court Should
 1                    Deny Jump’s Motion to Compel Arbitration under the Terms
 2
 2
                 a.      Plaintiffs’ Claims Against Jump Do Not Rely on the Anchor Terms of
 3
 3                       Service
 4
 4          The first Goldman circumstance contemplates two situations: The signatory’s claims
 5
 5   against the non-signatory “must rely on the terms of the written agreement,” or the signatory’s
 6
 6
     claims must be “intimately founded in and intertwined with the underlying contract.” Kramer, 705
 7
 7
 8   F.3d at 1128–29. The written contract at issue here is the Terms. Dkt. No. 122-1. By their plain
 8
 9   language, the Terms govern only transactions involving owners of UST lending UST to the Anchor
 9
10   Protocol in exchange for a rate of interest. SAC ¶6.3 For equitable estoppel to apply, therefore,
10
11
11   Plaintiffs’ claims must involve their lending UST to the Anchor Protocol. They do not.
12
12          The lending of UST to Anchor is not what is at issue in this case. The TFL Defendants
13
13   acknowledge that Plaintiffs’ claims do not rely on the Terms, when they assert that “Lead Plaintiff
14
14
     does not allege that any Anchor user (a) failed to receive the disclosed ‘interest rate’ on staked
15
15
16   tokens or (b) lost any staked tokens due to the operation of the Anchor Protocol; rather, Lead
16
17   Plaintiff alleges losses due to declines in the market (i.e., ‘fiat-denominated’) values of UST and
17
18   LUNA.” TFL MTD at 20. The TFL Defendants continue, asserting that “the SAC does not contain
18
19
19   a single allegation that (a) Lead Plaintiff or anyone else lost money as a result of Anchor or (b)
20
20   Anchor ever failed to pay the expected return on staked tokens[.]” TFL MTD at 58 (emphasis in
21
21   original). Indeed, because Plaintiffs do not even allege that they lost money because of their loan
22
22
23   to Anchor, it follows that Plaintiffs’ claims do not rely on the Terms, nor are they “intimately
23
24   founded in and intertwined with” those contractual terms. The express disassociation between
24
25
25
26
26   3 References to “¶” or “SAC ¶” are to paragraphs of the Second Amended Complaint, Dkt. No.
27   102.
27
28                                                   5
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                          LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
                                   MOTION TO COMPEL ARBITRATION
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 1   Plaintiffs’ claims and the Terms eliminates Defendant Jump’s appeal to equitable estoppel and
 1
 2   should cause this Court to deny its motion to compel arbitration.
 2
 3
 3          Seeking to avoid the unavoidable, Defendant Jump struggles to associate Plaintiffs’ claims
 4
 4   with the Terms that govern a transaction that is not at issue here. First, Jump elides both the
 5
 5
     Plaintiffs’ claims – based on their purchases of UST – and the Terms it seeks to leverage,
 6
 6
 7   suggesting that “the Anchor Protocol is Central to Lead Plaintiff’s Theory of Fraud,” Jump MTC
 7
 8   at 3, and “[t]he entire theory of the SAC is that Jump Trading and TFL worked together to sustain
 8
 9   demand for UST . . . And at the center of the alleged scheme are supposed misrepresentations
 9
10
10   about the sustainability of the yields offered by the Anchor Protocol.” Id. at 3, 13. With no support
11
11   whatsoever from the Complaint or the Terms, Defendant Jump assumes the faulty premise that
12
12   Plaintiffs’ claims must rely on the Terms. According to Jump, the Terms apply because Plaintiffs
13
13
     purchased UST and, in separate and wholly discretionary transactions, may have lent their UST to
14
14
15   the Anchor Protocol. In other words, Jump’s premise is that, because Plaintiffs’ claims and the
15
16   Terms both relate to UST, they must be the same transaction. As a matter of law and fact that
16
17   premise crumbles, because Goldman requires actual reliance on the terms of the written
17
18
18   agreement – here, the Anchor Protocol Terms of Service.
19
19          While the SAC might allege that misstatements about the Anchor Protocol drove interest
20
20   in UST and the Terra ecosystem generally, see SAC ¶ 26, it is nevertheless the case that, to quote
21
21
22   the TFL Defendants, “the SAC does not contain a single allegation that (a) Lead Plaintiff or anyone
22
23   else lost money as a result of Anchor[.]” TFL MTD at 58. Whatever may have driven interest in
23
24   UST, practically and technically the transactions were separate, one not necessitating the other.
24
25   Thus, it does not follow that Plaintiffs’ claims – all directed at their purchase of UST – have
25
26
26   anything to do with the terms of the transaction by which they subsequently loaned their UST to
27
27
28                                                    6
28
                          LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
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 1   Anchor. Those purchases of UST did not (and could not) take place within the Anchor Protocol,
 1
 2   and were not subject to the Terms and their arbitration provision. Indeed, investors who purchased
 2
 3
 3   UST during the Class Period but did not lend them to the Anchor Protocol have the exact same
 4
 4   claims as those who did, but are not subject to the Anchor Terms of Service. See Jackson v.
 5
 5
     Amazon.com, Inc., 65 F.4th 1093, 1102 (9th Cir. 2023) (explaining that claims did not depend on
 6
 6
 7   the terms of the contract where plaintiffs who did not sign the contract would have the same claims
 7
 8   as those who did). Because all of Plaintiffs’ claims here relate to their purchases of UST – which
 8
 9   did not take place in the Anchor Protocol, or require a loan to the Anchor Protocol in any way 4 –
 9
10
10   they do not “rely on” the Terms.
11
11          Second, tacitly acknowledging its faulty premise – conflating transactions because both
12
12   involved UST – Defendant Jump pivots, asserting that the Terms of Service are relevant to one if
13
13
     its defenses. In particular, it suggests that language in the Terms provides “an absolute defense,
14
14
15   because it expressly conflicts with Lead Plaintiff’s claim that he reasonably relied on and was
15
16   defrauded by the marketing of the Anchor Protocol’s interest rate.” Jump MTC at 15. This is wrong
16
17   because it again conflates Plaintiffs’ initial purchase of Terra Tokens – that did not take place
17
18
18   within the Anchor Protocol and were not subject to its Terms – with Plaintiffs’ subsequent loan of
19
19   UST to Anchor, the transaction for which Plaintiffs were asked to sign the Anchor Terms of
20
20   Service. Jump is trying to look to the fine print of a contract that Plaintiffs were asked to sign
21
21
22
22
23
23   4 Indeed, the Complaint explains how Plaintiffs could and did buy Terra Tokens for purposes
24   unrelated to Anchor, for example, purchasing UST to convert into LUNA for exposure to price
24   appreciation or arbitrage opportunities. See SAC ¶62 (describing how the UST/LUNA pairing
25   mechanism creates “arbitrage opportunity” meant to “incentiviz[e]” and “encourage arbitrageurs
25   to trade the UST/LUNA pair in order to trigger the mint/burn process and thus, a return to $1.”);
26   SAC ¶50, 136-37, 153 (promoting the “arbitrage incentives” available to the UST/LUNA
26   purchasers); SAC ¶50 (highlighting the UST’s “alternative arbitrage opportunity outside of the
27   Terra protocol itself”).
27
28                                                   7
28
                         LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
                                  MOTION TO COMPEL ARBITRATION
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 1   separate from and after purchasing UST, and claiming the contract is somehow relevant to
 1
 2   Plaintiffs’ frame of mind when they made the previous and distinct decision to purchase UST. That
 2
 3
 3   makes no sense. Jump’s argument is inconsistent with the basic timeline of events, failing to
 4
 4   transform Plaintiffs’ claims into claims that “rely on” or are “intimately founded in and intertwined
 5
 5
     with” the Anchor Terms of Service. See Kramer, 705 F.3d at 1128–29.
 6
 6
 7           Third, in a last-ditch effort to construe Plaintiffs’ claims as relying on the terms of the
 7
 8   written agreement, Jump misreads the Terms. Defendant Jump writes that “[t]he arbitration clause
 8
 9   here covers all disputes ‘arising out of or relating to the Interface, this Agreement . . . or any other
 9
10
10   acts or omissions for which you may contend that we are liable.’” Jump MTC at 16. Immediately
11
11   after, Jump provides a string cite to cases construing arbitration agreements that use the phrase
12
12   “arising out of or related to this Agreement” as broad arbitration clauses. See Jump MTC at 16.
13
13
     These cases do stand for the proposition that the phrase “arising out of or relating to” is broad and
14
14
15   reaches all matters that touch the agreement in question—but, as Jump recognizes several times
15
16   earlier in its brief, to be arbitrable, the claims must still “arise out of” or “relate to” the Interface
16
17   or Agreement. See Jump MTC at 1 (“To use that protocol, Lead Plaintiff agreed to be bound by
17
18
18   the Anchor Terms of Service (‘Anchor TOS’), which included a broad arbitration clause requiring
19
19   him to arbitrate in Singapore all claims arising out of or related to use of the Anchor Protocol
20
20   Interface or the Anchor TOS”) (emphasis added); Jump MTC at 10 (arbitration clause “expressly
21
21
22   covers any dispute arising out of or relating to the ‘Interface’ or ‘Agreement,’ including
22
23   questions about arbitrability”) (emphasis added). That is the common sense reading of the
23
24   agreement.
24
25           To the extent Jump is reading the “or any other acts or omissions for which you may
25
26
26   contend that we are liable” clause to include any possible claim against TFL, even those that do
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28
                           LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
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 1   not arise out of or relate to the Anchor Interface and Terms of Service, that is just the sort of
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 2   “excessively broad and unnatural reading” that courts regularly reject. See, e.g., Esparza v.
 2
 3
 3   SmartPay Leasing, Inc., 2017 WL 4390182, at *3 (N.D. Cal. Oct. 3, 2017), aff’d, 765 F. App’x
 4
 4   218 (9th Cir. 2019) (“reading the clause as applying to any and every claim arising between
 5
 5
     SmartPay and its customers, even including employment and tort claims, with no limiting principle
 6
 6
 7   would render the clause impermissibly overbroad, and therefore inoperable”); Savage v. Citibank
 7
 8   N.A., 2015 WL 2214229, at *3 (N.D. Cal. May 12, 2015) (“Accepting Defendants’ interpretation
 8
 9   that the ‘our relationship’ language extends to any interaction between Plaintiff and Citi would
 9
10
10   mean that one credit card agreement could be used to dictate the parties’ ‘relationship’ ad infinitum,
11
11   regardless of the subject matter of their future interactions. That is an absurd consequence.”); In
12
12   re Jiffy Lube Int’l, Inc., Text Spam Litig., 847 F. Supp. 2d 1253, 1263 (S.D. Cal. 2012) (similar).
13
13
             Jump’s overbroad reading would also render the other specific clauses in the paragraph
14
14
15   superfluous and violate the canon of ejusdem generis. See, e.g., Martin v. Holiday Inns, Inc., 199
15
16   Cal. App. 3d 1434, 1437 (Cal. Ct. App. 1988) (“The words ‘other’ or ‘any other,’ following an
16
17   enumeration of particular classes, are therefore to be read as ‘other such like,’ and to include only
17
18
18   others of like kind or character’” (citation omitted). In addition, this reading elides (twice) the word
19
19   “including,” which serves to emphasize that the clause in question is a subset of the main clause.
20
20   See SmartPay Leasing, Inc., 2017 WL 4390182, at *3 (“this clause is part of, and modifies, the
21
21
22   section providing that customers agreed to arbitrate disputes arising from the lease agreement. The
22
23   natural reading of the clause, therefore, is that it too applies to disputes arising from the lease
23
24   agreement.”) (emphasis in original). Finally, any ambiguity should be construed in Plaintiffs’
24
25   favor, as “[t]he rule requiring the resolution of ambiguities against the drafting party ‘applies with
25
26
26   peculiar force in the case of a contract of adhesion.’” See Graham v. Scissor-Tail, Inc., 28 Cal. 3d
27
27
28                                                      9
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                          LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
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 1   807, 819, n.16 (1981).
 1
 2              b.      Plaintiffs’ Claims Do Not Allege Any Interdependent Misconduct
 2
 3                      Founded in or Intimately Connected with the Obligations Imposed by the
 3                      Anchor Protocol Terms of Service
 4
 4          The second Goldman circumstance is “when the signatory alleges substantially
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 5   interdependent and concerted misconduct by the nonsignatory and another signatory and the
 6
 6
     allegations of interdependent misconduct are founded in or intimately connected with the
 7
 7
 8   obligations of the underlying agreement.” See Kramer, 705 F.3d at 1128–29 (emphasis added).
 8
 9          While Plaintiffs allege plenty of interdependent misconduct between the TFL Defendants
 9
10   and Jump, none of Plaintiffs’ allegations against Jump are “founded in or intimately connected
10
11
11   with” the Anchor Protocol Terms of Service. Nor could they be. As explained above, Jump had
12
12   nothing to do with the Anchor transaction at all, except in the highly general sense in which Jump
13
13   conspired to make Plaintiffs buy UST out of the belief that UST was more stable and attractive
14
14
15   than it was, and then, in a subsequent transaction governed by the Terms, that UST ended up in
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16   Anchor—but that appears to be Jump’s best argument on the second Goldman circumstance. See
16
17   Jump MTC at 14 (“Lead Plaintiff has filed alleged RICO and conspiracy claims, and he alleges
17
18   concerted conduct by Defendants to induce market participants to want to purchase UST to deposit
18
19
19   on the Anchor Protocol.”). This is the sort of attenuated reasoning that courts have found to fall
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20   far short of both Goldman circumstances and, in fact, was rejected in Kramer itself. See BMW of
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21
     N. Am., LLC, 23 F.4th at 949 (“BMW argues that if Ngo had not signed the purchase agreement
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22
23   with the dealership, she would not have been able to purchase her car; if she had not purchased her
23
24   car, BMW would have issued no warranties; and if BMW had issued no warranties, Ngo could not
24
25   bring statutory claims. But this ‘attenuated chain of reasoning’ has been rejected by California
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26
26   courts.”); Kramer, 705 F.3d at 1130-31.
27
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28                                                   10
28
                         LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
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 1              c.      Jump’s Attempt to Distinguish Donovan v. Coinbase is Unavailing
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 2          Jump’s attempt to distinguish Donovan, 2023 WL 2124776, at *5–6 fails. In Donovan, this
 2
 3
 3   Court denied a non-signatory’s attempt to compel arbitration using equitable estoppel, noting
 4
 4   “Kramer requires that there be clear and unmistakable evidence that a signatory agreed to arbitrate
 5
 5   arbitrability with a nonsignatory.” (citation omitted).
 6
 6
            Jump argues that the arbitration agreement in Donovan contained narrow language limiting
 7
 7
 8   the definition of arbitrable disputes to disputes between the parties to the contract, while the
 8
 9   language here is broader. Jump MTC at 10. This argument crumbles under scrutiny. Here is the
 9
10   language in Donovan that the Court deemed “clear-cut language showing an intent to arbitrate
10
11
11   disputes between the signatories only”:
12
12          Subject to the terms of this Arbitration Agreement, you and Coinbase agree that
13          any dispute, claim, disagreements arising out of or relating in any way to your
13          access to or use of the Services or of the Coinbase Site, any Communications you
14          receive, any product sold or distributed through the Coinbase Site, the Services, or
14
15          the User Agreement and prior versions of the User Agreement, including claims
15          and disputes that arose between us before the effective date of these Terms (each,
16          a ‘Dispute’) will be resolved by binding arbitration, rather than in court ....”
16
17   Donovan, 2023 WL 2124776, at *6 (bold in original). The Court further explained that “[t]he
17
18   bolded language indicates the arbitration obligation is binding between All Plaintiffs and
18
19
19   Coinbase. The agreement does not state that the obligations and rights thereunder extend to a
20
20   nonsignatory. At the very least, there is ambiguity as to whether All Plaintiffs agreed to arbitrate
21
21   arbitrability with a nonsignatory.” Id. (bold in original).
22
22
23          That language is functionally the same as the Terms’ language here:
23
24          If we aren’t able to reach an informal resolution within sixty days of your email,
24          then you and we both agree to resolve the potential dispute according to the
25          process set forth below.
25
26          Any claim or controversy arising out of or relating to the Interface, this
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            Agreement, including any question regarding this Agreement’s existence,
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27          validity or termination, or any other acts or omissions for which you may
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28
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 1          contend that we are liable, including (but not limited to) any claim or
 1          controversy as to arbitrability (“Dispute”), shall be referred to and finally
 2          resolved by arbitration in Singapore in accordance with the Arbitration Rules of the
 2
 3          Singapore International Arbitration Centre (“SIAC Rules”).
 3
 4   Dkt. No. 122-1 at 11 (emphasis added). The bolded language in the first paragraph makes it clear
 4
 5   who the parties are that are agreeing to the arbitration clause. The bolded language in the second
 5
 6   paragraph provides the definition of the disputes that they are agreeing to arbitrate. This is much
 6
 7
 7   like Donovan where – except for the final subset dealing with retroactivity (not present here) – the
 8
 8   definition of “Dispute” was not limited to the parties and the limiting was done by the language
 9
 9   identifying the parties to the agreement. The structure and language here are very similar. The
10
10
11   result should be the same as well.
11
12          Finally, Jump suggests that the structure of the arbitration clause “evidences that the parties
12
13   plainly contemplated that others, such as Jump Trading, might invoke the benefit of the arbitration
13
14   clause of the contract.” Jump MTC at 10. This is purportedly because, by including “disputes about
14
15
15   acts or omissions for which [the user] may contend that [TFL is] liable,” “the clause itself
16
16   contemplates other users would be covered for disputes regarding the Interface or Agreement.”
17
17
     Jump MTC at 10. Jump does not explain how anyone could read the above language and conclude
18
18
19   that it “plainly contemplate[s]” third parties enforcing the arbitration clause. In any event, Jump’s
19
20   argument supports Plaintiffs’ core contention that the Anchor arbitration clause is limited to claims
20
21   regarding the Anchor Protocol Interface or the Anchor Terms of Service. Plaintiffs’ claims are not
21
22
22   so limited.
23
23          2.      A Stay Is Inappropriate
24
24          When a court compels arbitration only as to some claims or some defendants, the court
25
25   also has discretion whether to stay the remaining case pending arbitration and would have to weigh
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26   the “competing interests which will be affected by the granting or refusal to grant a stay.” CMAX,
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27
28                                                    12
28
                          LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
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 1   Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962). These interests include: “[i] the possible damage
 1
 2   which may result from the granting of a stay, [ii] the hardship or inequity which a party may suffer
 2
 3   in being required to go forward, and [iii] the orderly course of justice measured in terms of the
 3
 4   simplifying or complicating of issues, proof, and questions of law which could be expected to
 4
 5   result from a stay.” Id. In the Ninth Circuit, “[t]he party who moves for a stay has the burden to
 5
 6   ‘make out a clear case of hardship or inequity in being required to go forward.’” DeMartini v.
 6
 7   Johns, 693 F. App'x 534, 538 (9th Cir. 2017) (quoting Landis v. N. Am. Co., 299 U.S. 248, 255
 7
 8   (1936)). The Ninth Circuit has stated there is a preference for proceeding with non-arbitrable
 8
 9   claims when feasible. United Commc'ns Hub, Inc. v. Qwest Commc'ns, Inc., 46 F. App'x 412, 415
 9
10   (9th Cir. 2002). “A court should accordingly stay ‘only when doing so would serve some legitimate
10
11   interest of the parties or the court.’” California Crane Sch., Inc. v. Google LLC, 621 F. Supp. 3d
11
12   1024 (N.D. Cal. 2022) (citation omitted).
12
13              a.      The Equities Weigh Strongly in Favor of Continuing with the Case
13
14          Should the Court compel arbitration solely as to the TFL Defendants but not Jump, the
14
15
15   equities weigh strongly in favor of continuing with the case. First this case is – in the words of the
16
16   SEC – “a multi-billion dollar crypto asset securities fraud.” SAC ¶2. The Department of Justice
17
17
     agrees, because it charged Do Kwon with criminal securities fraud due to the same allegations in
18
18
19   Plaintiffs’ Complaint. Essentially all of the money invested in Terra Tokens – about $40 billion –
19
20   is gone. See SAC ¶44. According to the publicly available news reports, Do Kwon is in a jail cell
20
21   in Montenegro. The lion’s share of TFL’s assets were, presumably, in the form of Terra Tokens,
21
22
22   which are now worthless. See SAC ¶161-62. Under these circumstances, it is unclear whether
23
23   arbitration against the TFL Defendants is even possible.
24
24          Staying Plaintiffs’ claims against Jump would prejudice Plaintiffs as it would delay their
25
25
     ability to conduct discovery and bring about efficient prosecution of their claims against Jump,
26
26
27   from which Plaintiffs might be able to recover some of their losses. This hardship is particularly
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28                                                    13
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 1   acute with respect to investors who did not lend their UST to the Anchor Protocol and hence are
 1
 2   not even signatories to the arbitration clause in question. The risk that critical evidence could be
 2
 3
 3   lost as time goes by is heightened here, due to the stunning collapse of TFL and the entire Terra
 4
 4   ecosystem.
 5
 5
            Against all of this, Jump claims that it would face hardship if the Court compelled
 6
 6
 7   arbitration of the federal securities claims but not the aiding and abetting or conspiracy claims,
 7
 8   forcing Jump to fight a “two-front war.” See Jump MTC at 18. But that hardship would only apply
 8
 9   if the Court compels some of Plaintiffs’ claims against Jump but not others and, in addition, is
 9
10
10   undercut by Jump’s arguments immediately above as to the purported speed and efficiency of
11
11   arbitrations in Singapore. See id. Jump’s contentions fall far short of warranting a stay here,
12
12   especially because it is Jump’s burden – not Plaintiffs’ – to make a clear case for a discretionary
13
13
     stay. See DeMartini, 693 F. App'x at 538.
14
14
15                b.    Judicial Efficiency Weighs in Favor of Continuing with Case
15
16          Jump’s argument that judicial efficiency favors a stay is weak. Plaintiffs’ Complaint
16
17   contains numerous statements from Jump’s CEO, Kanav Kariya, that Plaintiffs allege to be
17
18   actionable misstatements. See SAC ¶¶131, 138, 139, 144, 250(f). It also alleges conduct by Jump
18
19
19   that Plaintiffs allege to be actionable manipulation. See, e.g., ¶192. These statements and actions
20
20   will have to be adjudicated regardless of the outcome of any arbitration with the TFL Defendants,
21
21
     so there is no judicial efficiency argument for delaying that adjudication. “[S]taying the non-
22
22
23   arbitrable claims would only serve to needlessly delay their resolution.” California Crane School,
23
24   Inc., 621 F. Supp. 3d at 1033–34; Chen v. Bank of Am., N.A., 2020 WL 4561658, at *3 (C.D. Cal.
24
25   Mar. 31, 2020) (“given that the parties will need to litigate the non-arbitrable claims irrespective
25
26
26   of the arbitration outcome, proceeding with this litigation would not qualify as a waste of judicial
27
27
28                                                   14
28
                          LEAD PLAINTIFF’S OPPOSITION TO JUMP TRADING LLC’S
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 1   resources”).
 1
 2          Jump’s nod to “non-mutual” or “defensive” collateral estoppel as a potential justification
 2
 3
 3   for a stay fares no better. The doctrine that Jump invokes would only be available when the issues
 4
 4   are “identical.” See, e.g., Hirst v. State of Cal., 770 F.2d 776, 778 (9th Cir. 1985); Scott v. Snelling
 5
 5
     & Snelling, Inc., 732 F. Supp. 1034, 1039 (N.D. Cal. 1990); Crafty Prods., Inc. v. Michaels
 6
 6
 7   Companies, Inc., 424 F. Supp. 3d 983, 989 (S.D. Cal. 2019) (no estoppel where the arbitrator had
 7
 8   adjudicated a non-identical claim). Here, as mentioned, Jump’s actions and the statements made
 8
 9   by its CEO, Kanav Kariya, will still have to be adjudicated, so there is no good reason for a stay.
 9
10
10   See Congdon v. Uber Techs., Inc., 226 F. Supp. 3d 983, 991 (N.D. Cal. 2016) (declining stay where
11
11   defendant “has not presented the Court with any authority indicating that the decision of the
12
12   arbitrators . . . would in some way bind the Court”).
13
13
     II.     CONCLUSION
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14
15          For the foregoing reasons, Jump’s motion to compel arbitration or to stay the case pending
15
16   resolution of arbitration should be denied.
16
17
17   DATED: July 7, 2023                    THE ROSEN LAW FIRM, P.A.
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 1                                   CERTIFICATE OF SERVICE
 1
 2          I, Laurence M. Rosen, hereby certify that on July 7, 2023, I caused the foregoing to be filed
 2
 3   with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
 3
 4   to the email addresses denoted on the Electronic Mail Notice List.
 4
 5
 5
 6                                                         /s/ Laurence M. Rosen
 6
                                                           Laurence M. Rosen
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